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                                                      UNITED STATES DISTRICT COURT
           14
                                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
           15
                                                             SAN FRANCISCO DIVISION
           16

           17    Anatoly Sorokin,                                                    Case No. 3:21-cv-03576-WHO
           18
                                          Plaintiff,                                 PLAINTIFF’S RESPONSE TO
           19                                                                        DEFENDANTS’ ADMINISTRATIVE
                                                                                     MOTION AND CROSS-MOTION FOR
           20                                                                        LEAVE TO AMEND TO CORRECT
                                  v.                                                 INADVERTENT INACCURACIES IN
           21                                                                        THE COMPLIANT
           22
                 HDR Global Trading Limited (A.K.A.
           23    BitMEX), ABS Global Trading Limited, Ar-
                 thur Hayes and Samuel Reed,
           24
           25                             Defendants.
           26
           27
           28
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  ATTORNEYS            PLAINTIFF’S RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION   -1-   SOROKIN V. HDR ET AL.   CASE NO. 3:21-CV-03576-WHO
             1          Plaintiff’s counsel made several inadvertent errors of technical nature in the First Amend-
             2   ed Complaint filed on October 7, 2021,1 see the attached Declaration of Pavel Pogodin. Plain-
             3   tiff’s counsel deeply apologizes for making these inadvertent technical mistakes. As soon as
             4   Plaintiff’s counsel became aware of the mistakes, he in good faith notified Defendants and asked
             5   their consent to file a short notice of errata or a corrective complaint. On the other hand, Defend-
             6   ants’ conduct in relation to this simple request can be best described as pure trickery.
             7          Defendants first acted as if they were about to consent to the filing of the notice of errata
             8   or a corrective compliant, in exchange for a new 35 days period to respond, tricking Plaintiff into
             9   proposing a number of additional clarifying amendments he wanted to make, See Pogodin Decla-
           10    ration. But once Defendants received the draft of the proposed Second Amended Complaint from
           11    Plaintiff, they refused to consent to the filing thereof and first threatened to use, and then actually
           12    proceeded to use it to cast doubt on the allegations of the originally filed First Amended Com-
           13    plaint, by filing several pages of the received draft with the Court and using the discrepancies to
           14    claim that the original First Amended Complaint filed on October 7, 2021 was false. The aim of
           15    this abhorrent trickery is absolutely clear – to coerce Plaintiff into making a very minor corrective
           16    amendment of largely immaterial facts “as of right” under FRCP 15(a)(1) and thereby deprive
           17    Plaintiff of the future opportunity to make the “real” substantive amendments in response to De-
           18    fendants’ forthcoming motion to dismiss.
           19              ANY TECHNICAL INACCURACIES IN THE FAC ARE IMMATERIAL
           20           Any inadvertent inaccuracies in the First Amended Complaint are of technical nature and
           21    have no bearing on the merits of the case. The technical details that need to be corrected are well
           22    beyond “a short and plain statement of the claim showing that the pleader is entitled to relief” re-
           23    quired under FRCP 8. Thus, those minute details, such as specific names of the swap contracts
           24    traded by Plaintiff, or direction of the market moves, are simply unnecessary for the “short and
           25    plain statement of the claim” required by the rules of pleading.
           26           What really matters from the substantive point of view is clearly present in the filed First
           27
                 1
                  Plaintiff’s counsel notified Defendants’ counsel of these inadvertent errors on October 11, 2021,
           28
                 or four days after filing of the First Amended Complaint.
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  ATTORNEYS            PLAINTIFF’S RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION   -2-   SOROKIN V. HDR ET AL.   CASE NO. 3:21-CV-03576-WHO
             1   Amended Complaint. Specifically, Plaintiff obtained and included hard trading data which not
             2   simply alleges, but conclusively proves that Defendants lied about liquidity on their exchange be-
             3   ing 1500% higher than competition, see First Amended Complaint, pp. 21-23. Moreover, First
             4   Amended Complaint at pp. 26-28 alleges that Plaintiff suffered damages at the time of the respec-
             5   tive swap contract purchases, when Defendants overcharged Plaintiff for the “cost” of purchasing
             6   each such swap contract by using the false and fraudulent representation, promising Plaintiff to
             7   provide 1500% more liquidity than any other platform. Due to overpaying for the “costs” of pur-
             8   chase of the riskier swap contracts, for purchase of which Plaintiff would not have paid the
             9   amounts he paid, had he known the true facts about BitMEX liquidity, Plaintiff suffered out-of-
           10    pocket losses in the form of the aforesaid overpayment at the time he purchased each of his swap
           11    contracts. The subsequent liquidation of Plaintiff’s swap contracts was a mere consequence of
           12    the higher financial risk (as well as other substantial contributing factors, such as deliberate ac-
           13    tions of the Insider Trading Desk) associated with them, but the financial loss in the form of con-
           14    tract purchasing “cost” overpayment was suffered by Plaintiff at the time of the respective con-
           15    tract purchase. Even if the subsequent liquidation of Plaintiff’s swap contracts was the conse-
           16    quence of the natural market forces (which it was not due to the deliberate actions of the Insider
           17    Trading Desk) Plaintiff still suffered losses in the form of the aforesaid swap contract purchase
           18    “cost” overpayment at the time the respective swap contract was purchased.
           19           In addition, First Amended Complaint, p. 34 alleges that Defendants also used false repre-
           20    sentations to overcharge Plaintiff for trading commissions, compared with what competing ex-
           21    changes charged their traders. This overcharging again does not depend on the specific contracts
           22    held by Plaintiff, the direction of the market moves and the causation of liquidations.
           23           Therefore, it is absolutely immaterial for Defendants’ liability if Plaintiff held short or
           24    long swap contracts and if the market went up or down. Irrespective of any of these factors,
           25    Plaintiff still suffered damages in the form of contract cost and trading commission overpayments
           26    at the time of contract purchase (and not at the time of swap liquidations), see First Amended
           27    Complaint, pp. 26-28, 34.
           28
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  ATTORNEYS            PLAINTIFF’S RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION   -3-   SOROKIN V. HDR ET AL.   CASE NO. 3:21-CV-03576-WHO
             1                 THERE WERE NO “MULTIPLE ITERATIONS” OF COMPLAINT
             2          At page 3 of their motion, Defendants inaccurately refer to the “multiple iterations that the
             3   complaint has gone through.” This is red herring, as there was only one amendment to the com-
             4   pliant, pursuant to a stipulation, which resulted in the First Amended Complaint being filed on
             5   October 7, 2021. A single amendment can hardly be called “multiple iterations that the complaint
             6   has gone through.”
             7                PLAINTIFF’S RIGHT TO AMEND UNSER FRCP 15(A)(1) SHOULD
                               BE PRESERVED AS IT SAVES SCARCE JUDICIAL RESOURCES
             8
                        The aim of Defendants’ conduct, besides harassment, is very clear – to use gamesmanship
             9
                 and trickery to deprive Plaintiff of the important statutory right under FRCP 15(a)(1) to amend in
           10
                 response to Defendants’ forthcoming motion to dismiss. On the other hand, this statutory right is
           11
                 very important for efficient administration of justice, as it streamlines litigation and permits Plain-
           12
                 tiff to correct pleading errors identified in Defendants’ motion without an intervention from the
           13
                 Court and without consuming scarce judicial resources. Thus, Plaintiff’s right to amend as a mat-
           14
                 ter of course under FRCP 15(a)(1) should not be abridged simply because Defendants tricked
           15
                 Plaintiff’s counsel into sending them a proposed draft of the Second Amended Complaint.
           16
                                              PLAINTIFF’S SHOULD BE GRANTED LEAVE
           17                                    TO FILE A CORRECTIVE PLEADING
           18           Leave to amend is “freely granted when justice so requires” bearing in mind “the underly-
           19    ing purpose of Rule 15 to facilitate decision on the merits, rather than on the pleadings or techni-
           20    calities.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en banc) (ellipses omitted). The
           21    policy in favor of leave to amend must not only be heeded, Foman v. Davis, 371 U.S. 178, 182
           22    (1962), it must be applied with "extreme liberality," Owens v. Kaiser Found. Health Plan, Inc.,
           23    244 F.3d 708, 712 (9th Cir. 2001).
           24           Defendants do not oppose filing of the Plaintiff’s Second Amended Compliant. Plaintiff
           25    does not oppose giving Defendants another 35 days to respond to it. Thus, the only issue is the
           26    Plaintiff’s right under FRCP 15(a)(1) to amend as of course, in response to Defendants’ forthcom-
           27    ing motion to dismiss, which should be preserved to save Honorable Court’s judicial recourses.
           28    Thus, Plaintiff should be given a leave to amend to correct the identified technical inaccuracies.
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  ATTORNEYS            PLAINTIFF’S RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION   -4-   SOROKIN V. HDR ET AL.   CASE NO. 3:21-CV-03576-WHO
             1   A proposed Second Amended Complaint and corresponding redline are attached hereto.2
             2   Dated: November 4, 2021                                                 Respectfully submitted,
             3                                                                           By:        /s/ Pavel I. Pogodin
                                                                                                    Pavel I. Pogodin
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                  Additionally, Plaintiff intends to add claims for damages and attorney fees under CLRA, once
           27    30 days pass from the date of the service of the corresponding notice on Defendants, which was
                 on October 12, 2021. Thus, Plaintiff respectfully requests until November 12, 2021 to file the
           28
                 Second Amended Complaint.
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  ATTORNEYS            PLAINTIFF’S RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION   -5-         SOROKIN V. HDR ET AL.   CASE NO. 3:21-CV-03576-WHO
